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                        UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION
                                www.flmb.uscourts.gov

In re:                                                     Case No. 6:19-bk-03539-KSJ
                                                           Chapter 7
Deborah Sue Ann Killian

                          Debtor(s). /


                         NOTICE OF PRELIMINARY HEARING

PLEASE TAKE NOTICE that a Hearing has been set before the Honorable Karen S. Jennemann,
United States Bankruptcy Judge, on Tuesday, October 1, 2019 at 11:00 a.m., in Courtroom 6A,
6th Floor, at the United States Bankruptcy Court, George C. Young Federal Building, 400 W.
Washington St., Orlando, FL 32801, to consider and act upon the following:

Chapter 7 Trustee’s (I) Application to Retain BK Global Real Estate Services to Procure
Consented Private Sale Pursuant to 11 U.S.C. §§327, 328 and 330 and (II) Application to
Retain Kavita Hanisha Uttamchandani as Trustee’s Listing Agent and to Procure Consented
Private Sale Pursuant to 11 U.S.C. §§ 327, 328 and 330 (Docket No. 24) and transact such
other business as may properly come before the Court.

All exhibits must be pre-marked and listed in accordance with Local Rule 9070-1.
Appropriate Attire: You are reminded that Local Rule 5072(b)(16) requires that all persons
appearing in court should dress in appropriate business attire consistent with their financial
abilities. Among other things, a coat and tie are appropriate for a man; a dress or pants suit is
appropriate for a woman.

RESPECTFULLY SUBMITTED this September 10, 2019.

                                                    /s/ Kristen L. Henkel
                                                    Kristen L. Henkel, Esquire
                                                    Florida Bar No. 81858
                                                    M. E. Henkel, P.A.
                                                    3560 S. Magnolia Ave.
                                                    Orlando, Florida 32806
                                                    Telephone: 407-438-6738
                                                    Facsimile : 407-858-9466
                                                    khenkel@mehenkel.com
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                                CERTIFICATE OF SERVICE

I HEREBY CERTIFY that a copy of the foregoing was provided by United States Mail, postage
prepaid, or by electronic delivery to : United States Trustee, 400 W. Washington St., Suite 1100,
Orlando, Florida 32801; Deborah Sue Ann Killian, 1203 NE Windsor Dr., Apt. 104, Ankeny, IA
50021, Debtor(s); Samuel R. Pennington, 303 N. Texas Ave., Tavares, FL 32778, Debtor(s)’
Attorney, on September 10, 2019.

                                                            /s/ Kristen L. Henkel
                                                            Kristen L. Henkel
